       Case 6:21-cr-00043-RRS-CBW Document 3 Filed 03/18/21 Page 1 of 4 PageID #: 11
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              1 8 2021 UNITED STATES DISTRICT COURT
                     ^EffK WESTERN DISTRICT OF LOUISIANA
                      ^y LAFAYETTE DIVISION


        UNITED STATES OF AMERICA * CRIMINAL NO. (f:^[-^We>t/3f€>l
                                * 18 U.S.C. §§ 249(a)(2)(A)(ii),
                                * 924(c)(l)(A), 1201(a)(l),
        VERSUS * 1519
                                                    *

                                                    * JUDGE^E^W%£^^^
        CHANCE J. SENECA * MAGISTRATE/JUDGE

                                              INDICTMENT

       THE FEDERAL GRAND JURY CHARGES:

                                                 COUNT 1

                                   HATE CRIME WITH ATTEMPT TO KILL
                                         18 U.S.C. § 249(a)(2)(A)(ii)

                  On or about June 20, 2020, in the Western District of Louisiana, the defendant,

       CHANCE J. SENECA, willfully caused bodily injury to H.W. because ofH.W.'s actual

       and perceived gender and sexual orientation. The offense occurred as a result of


       travel of defendant SENECA and H.W. using a facility and instrumentality of

       interstate and foreign commerce; in connection with the offense, defendant SENECA

       used a facility and instrumentality of interstate and foreign commerce; and in

       connection with the offense, defendant SENECA used weapons that had traveled in

       interstate and foreign commerce. Specifically, defendant SENECA used a car, a cell

       phone, the internet, and social media applications such as Grindr and Snapchat, all

       facilities and instrumentalities of interstate and foreign commerce, in order to lure

       H.W. to a residence where defendant SENECA intended to and attempted to kill and




                                                Page 1 of 4
Case 6:21-cr-00043-RRS-CBW Document 3 Filed 03/18/21 Page 2 of 4 PageID #: 12


dismember H.W. using a hammer and a knife, both of which had traveled in

interstate and foreign commerce, and further intended to and attempted to

dismember and keep parts of H.W/s body to use as mementos, trophies, and food.


The offense included kidnapping and an attempt to kill H.W. All in violation of Title

18, United States Code, Section 249(a)(2)(A)(ii).




                                      COUNT 2

             POSSESSION OF A FIREARM IN FURTHERANCE OF
                        A CRIME OF VIOLENCE
                              18 U.S.C. § 924(c)(l)(A)

       On or about June 20, 2020, in the Western District of Louisiana, the defendant,

CHANGE J. SENECA, knowingly possessed a firearm (a Taurus PTIII G2 9-mm

pistol bearing serial no. TMC99637) in furtherance of a crime of violence for which

defendant SENECA may be prosecuted in a court of the United States (the hate crime

offense charged in Count One). All in violation of Title 18, United States Code,

Section 924(c)(l)(A).



                                      COUNT 3

                                   KIDNAPPING
                               18 U.S.C. § 1201(a)(l)

      On or about June 20, 2020, in the Western District of Louisiana, defendant

CHANCE J. SENECA did unlawfully and willfully seize, inveigle, kidnap, abduct,

and hold H.W. for any reward, purpose, and benefit, and, in committing and in


furtherance of the commission of the offense, used a means, facility, and




                                     Page 2 of 4
Case 6:21-cr-00043-RRS-CBW Document 3 Filed 03/18/21 Page 3 of 4 PageID #: 13



instrumentality of interstate and foreign commerce; that is, defendant SENECA used

a car, a cell phone, the internet, and social media applications such as Grindr and

Snapchat. All in violation of 18 U.S.C. § 1201(a)(l).




                                      COUNT 4

                                  KIDNAPPING
                               18 U.S.C. § 1201(a)(l)

      On or about June 19, 2020, in the Western District of Louisiana, defendant

CHANGE J. SENECA did unlawfully and willfully seize, inveigle, kidnap, abduct,

and hold J.F. for any reward, purpose, and benefit, and, in committing and in


furtherance of the commission of the offense, used a means, facility, and


instrumentality of interstate and foreign commerce; that is, defendant SENECA used

a car, a cell phone, the internet, and social media applications such as Grindr and

Snapchat. All in violation of 18 U.S.C. § 1201(a)(l).




                                     COUNT 5

                          ATTEMPTED KIDNAPPING
                               18 U.S.C. § 1201(a)(l)

      On or about June 19, 2020, in the Western District of Louisiana, defendant

CHANCE J. SENECA did attempt to unlawfully and willfully seize, inveigle, kidnap,

abduct, and hold T.G. for any reward, purpose, and benefit, and, in committing and


in furtherance of the commission of the offense, used a means, facility, and


instrumentality of interstate and foreign commerce; that is, defendant SENECA used




                                     Page 3 of 4
Case 6:21-cr-00043-RRS-CBW Document 3 Filed 03/18/21 Page 4 of 4 PageID #: 14


a cell phone, the internet, and social media applications such as Grindr. All in

violation of 18 U.S.C. § 1201(a)(l) and (d).


                                       COUNT 6

              OBSTRUCTION BY DESTRUCTION OF RECORDS
                                   18 U.S.C. § 1519

      On or about June 20, 2020, within the Western District of Louisiana, the

defendant, CHANCE J. SENECA, acting in relation to and in contemplation of a

matter within the jurisdiction of the United States, knowingly altered, destroyed,

mutilated, concealed, and covered up records and documents with the intent to


impede, obstruct, and influence the investigation and proper administration of that

matter; that is, defendant SENECA deleted communications between himself and

H.W. that were stored on defendant SENECA'S phone. All in violation of 18 U.S.C.

  1519.

                                  A TRUE BILL:



                                   REDACTED
                                  GRAND JURY FOREPERSON

ALEXANDER C. VAN HOOK
Acting United States Attorney




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                                      Page 4 of 4
